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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA


PASQUALE T. DEON, SR. and                      Civil Action No.: 1:17-cv-1454-SHR
MAGGIE HARDY MAGERKO,
                                               Honorable Sylvia H. Rambo
                  Plaintiffs,

      v.
DAVID M. BARASCH, KEVIN F.                                 ORDER
O’TOOLE, RICHARD G. JEWELL,
SEAN LOGAN, KATHY M.
MANDERINO, MERRITT C.
REITZEL, OBRA S. KERNODLE, IV,
and DANTE SANTONI JR., Members
of the Pennsylvania Gaming Control
Board, in their official capacities;
PAUL MAURO, Director of the
Pennsylvania Gaming Control Board’s
Bureau of Investigation and
Enforcement, in his official capacity;
CYRUS PITRE, Director of the
Pennsylvania Gaming Control Board’s
Office of Enforcement Counsel, in his
official capacity; and
JOSH SHAPIRO, Attorney General of
Pennsylvania, in his official capacity.

                  Defendants.

       AND NOW, this 1st day of November, 2018, upon consideration of Plaintiff Maggie
Hardy Magerko’s Consent Motion to Withdraw Fee Petition, it is hereby ORDERED,
ADJUDGED, AND DECREED that said Motion is GRANTED. Plaintiff Magerko’s Motion for
Fees (ECF 61) is hereby WITHDRAWN.

                                              BY THE COURT:

                                               s/Sylvia H. Rambo
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                                              Hon. Sylvia Rambo
